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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

LAMONTE MCINTYRE and                        )
ROSE LEE MCINTYRE,                          )
                                            )
                         Plaintiffs,        )                  CIVIL ACTION
                                            )
v.                                          )                  No. 18-2545-KHV
                                            )
UNIFIED GOVERNMENT OF WYANDOTTE             )
COUNTY AND KANSAS CITY, KANSAS, et al., )
                                            )
                         Defendants.        )
____________________________________________)

                                ORDER TO SHOW CAUSE

       On June 9, 2022, the Court sustained in part and overruled in part Roger Golubski’s motion

for summary judgment which was based in part on qualified immunity. See Memorandum And

Order (Doc. #668). Today, Golubski filed a notice of appeal. See Defendant Roger Golubski’s

Notice of Appeal (Doc. #672). On or before June 22, 2022, the parties shall show good cause

in writing why, in light of the pending notice of appeal, the Court should not bifurcate the

federal and state law claims and proceed to trial on the state law claims on October 17, 2022,

as scheduled. Obviously, if the Tenth Circuit disposes of the appeal by October 17, 2022, trial

would also proceed as scheduled on any Section 1983 claims on which defendant is not entitled to

qualified immunity as matter of law.

       IT IS SO ORDERED.

       Dated this 17th day of June, 2022 at Kansas City, Kansas.

                                                           s/ Kathryn H. Vratil
                                                           KATHRYN H. VRATIL
                                                           United States District Judge
